           Case 2:13-cr-00267-TLN Document 68 Filed 09/01/15 Page 1 of 2


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8                       IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,             ) 2:13-CR-00267-TLN
                                           )
12              Plaintiff,                 ) ORDER FINDING THE DEFENDANT
                                           ) MENTALLY INCOMPETENT TO STAND
13        v.                               ) TRIAL UNDER 21 U.S.C. § 4241(d)
                                           ) AND COMMITTING THE DEFENDANT TO
14   FERLANDO CARTER,                      ) THE CUSTODY OF THE ATTORNEY
                                           ) GENERAL
15              Defendant.                 )
                                           )
16                                         )
                                           )
17

18                                        ORDER

19       This matter is before the Court on the joint motion of the

20   United States and the defendant for a hearing to determine the mental

21   competency of the defendant pursuant to 18 U.S.C. § 4241(a).          On

22   February 17, 2015, the Court ordered that the defendant undergo a

23   psychological examination conducted by Dr. John Foster.          (Doc. 48.)

24   Dr. Foster conducted the psychological examination on March 11, 2015,

25   and submitted a written report to the parties on April 7, 2015.            The

26   parties subsequently submitted Dr. Foster’s report to the Court for

27   review.   The parties appeared before the Court regarding this matter

28   on August 27, 2015.

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              Case 2:13-cr-00267-TLN Document 68 Filed 09/01/15 Page 2 of 2


1        Upon consideration of the April 7, 2015 Forensic Report prepared

2    by Dr. Foster and the hearing held on August 27, 2015; pursuant to 18

3    U.S.C. § 4241(d), the Court finds by a preponderance of the evidence

4    that the defendant is presently suffering from a mental disease or

5    defect rendering him mentally incompetent to the extent that he is

6    unable to understand the nature and consequences of the proceedings

7    against him and to assist properly in his defense.             Accordingly, the

8    Court hereby ORDERS that:

9        (1)     the defendant is committed to the custody of the Attorney

10               General for treatment in a suitable facility for such a

11               reasonable time, not to exceed four months, as is necessary

12               to determine whether there is a substantial probability

13               that the defendant will attain capacity to permit the

14               proceedings to go forward;

15       (2)     the defendant shall self-surrender on November 5, 2015, to

16               the facility designated by the Bureau of Prisons;

17       (3)     upon completion of the evaluation of the defendant, the

18               director of such facility shall submit a report regarding

19               the defendant’s competency to counsel and the Court by

20               March 25, 2016;

21       (4)     time is excluded from August 27, 2015, through April 14,

22               2016, pursuant 18 U.S.C. § 3161(h)(1)(A) (Local Code A) and

23               18 U.S.C. § 3161(h)(4) (Local Code N); and

24       (5)     this matter is set for a status conference on April 14,

25               2016, at 9:30 a.m.

26   IT IS SO ORDERED.

27   Dated:    September 1, 2015
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29
                                                        Troy L. Nunley
30                                             2        United States District Judge
